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   14
                             UNITED STATES DISTRICT COURT
   15                      SOUTHERN DISTRICT OF CALIFORNIA

   16
        Ms. L., et al.,                                  Case No. 18-cv-00428-DMS-MDD
   17
                              Petitioners-Plaintiffs,
   18   v.
                                                         Date Filed: June 6, 2019
   19   U.S. Immigration and Customs Enforcement
        (“ICE”), et al.
   20                                                    MEMORANDUM IN SUPPORT
                                                         OF MOTION TO ALLOW
   21                          Respondents-Defendants.   PARENTS DEPORTED
                                                         WITHOUT THEIR CHILDREN
   22                                                    TO TRAVEL TO THE UNITED
                                                         STATES
   23

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    1                                    INTRODUCTION
    2         Plaintiffs respectfully request that the Court order the government to allow
    3   21 parents who were separated from their children and deported to travel to the
    4   United States to obtain an opportunity to reunify with their children, who remain in
    5   the United States. Each parent has submitted an application under the Settlement
    6   Agreement seeking to return to the United States, and the return of each of the 21
    7   parents can be accomplished either by enforcing the Settlement Agreement or by an
    8   order of this Court requiring the government to provide travel documents to permit
    9   return to the United States.
   10         The 21 parents were separated from their children and deported without
   11   receiving a meaningful opportunity to seek asylum. The relief they seek is limited:
   12   they need a pathway to legally travel to the United States, where Defendants can
   13   then either provide them with a de novo credible fear interview (“CFI”) or simply
   14   place them in regular section 240 removal proceedings.
   15         These 21 deported parents are part of the larger group of more than 470
   16   parents deported without their children. Plaintiffs, the ACLU Steering Committee,
   17   and other NGOs carefully screened deported parents to determine which parents (1)
   18   were deprived of a meaningful opportunity to seek asylum, (2) are currently in
   19   danger, and (3) have bona fide asylum claims. Plaintiffs concluded that 51 parents
   20   fit that description and gave the 51 cases, with affidavits, to the government as part
   21   of the procedures set forth in Settlement Agreement. The government rejected all
   22   51 applications without any individualized explanation.
   23         Subsequently, thirty of the 51 managed to make their way to the U.S.-
   24   Mexican border and sought asylum. Notably, all 30 either passed their CFIs or were
   25   placed directly into 240 proceedings. Yet all 30 were previously rejected by the
   26   government under the settlement agreement. The remaining 21 are no different
   27   from these 30 but are stranded in their home countries, either because of the danger
   28   or prohibitive cost of undertaking the journey without travel documents, or for

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    1   other reasons. Had they been given a meaningful opportunity to seek asylum
    2   before being deported, they would almost certainly have passed their CFI and
    3   would have been reunified with their children in the United States under the Ms. L.
    4   injunction. 1
    5           These parents are in serious danger in their home countries and cannot safely
    6   remain there. For the same reason, they cannot be reunited with their children in
    7   their home countries. Without further relief, these 21 parents have no meaningful
    8   redress for the injury Defendants’ inflicted. They were separated from their
    9   children and then coerced or misled into losing the meaningful opportunity to seek
   10   asylum to which they were entitled. The only path they have to reunify with their
   11   children is in the United States itself. Accordingly, to obtain the Ms. L. relief of
   12   reunification, these 21 parents should be permitted to return to exercise their right
   13   to apply for asylum.
   14   I.     Background
   15        A. The Settlement Agreement
   16          On November 15, 2018, the Court granted final approval of the Class Action
   17   Settlement (“Settlement Agreement”) of claims arising in several different lawsuits:
   18   M.M.M. v. Sessions, Case No. 3:18-cv-1832-DMS (S.D. Cal.), M.M.M. v. Sessions,
   19   Case No. 1:18-cv-1835-PLF (D.D.C.), Ms. L. v. ICE, Case No. 3:18-cv-428-DMS
   20   (S.D. Cal.), and Dora v. Sessions, Case No. 18-cv-1938 (D.D.C.).
   21          The Settlement Agreement requires Defendants to review the “rare and
   22   unusual” cases “in which Plaintiffs’ counsel believes the return of a particular
   23   removed Ms. L. class member may be warranted” to determine if further relief is
   24   due. Specifically, as part of that Agreement, the Parties agreed to the following
   25   language in a section entitled “The return of removed parents to the United States”:
   26
   27   1
          For the Court’s reference, the applications of the 21 parents seeking return are
   28   included under seal as Addendum 1, Ex. D. The applications of the 30 parents who
        have returned are included under seal as Addendum 2, Ex. E.
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    1         The government does not intend to, nor does it agree to, return any
              removed parent to the United States or to facilitate any return of such
    2         removed parents. The classes agree not to pursue any right or claim
    3         of removed parents to return to the United States other than as
              specifically set forth in this paragraph. Plaintiffs’ counsel may raise
    4         with the government individual cases in which plaintiffs’ counsel
    5         believes the return of a particular removed Ms. L class member may
              be warranted. Plaintiffs’ counsel represent that they believe that such
    6         individual cases will be rare and unusual and that they have no basis
    7         for believing that such individual cases will be other than rare and
              unusual. Plaintiffs’ counsel agree to present any such cases, including
    8         all evidence they would like considered by the government within 30
    9         days of the approval of this agreement. In light of plaintiffs’ counsel’s
              representation that such cases will be rare and unusual, Defendants
   10         agree to provide a reply to any case presented by Plaintiffs within 30
   11         days of receiving Plaintiffs’ request to consider the case. Except as
              specifically set forth herein, the classes agree that existing law,
   12         existing procedures, and the Court-approved reunification plan
   13         address all interests that such parents or their children may have.
   14   Agreement at 6 (emphasis added), ECF No. 220-1. The Court understood that the
   15   Settlement Agreement “speaks to the possibility of those parents being returned to
   16   the United States” and provide that Defendants would “consider [Plaintiffs’]
   17   requests in good faith.” 11/15/18 Tr. at 41.
   18      B. Plaintiffs Presented 51 Cases to Defendants Under the Terms of the
              Agreement
   19
              Plaintiffs, the ACLU Steering Committee, and NGOs thoroughly vetted the
   20
        deported parents from the original Ms. L. class to identify parents who were
   21
        deprived of a meaningful ability to seek asylum, who have bona fide asylum claims,
   22
        and who cannot reunify with their children in their home countries because of the
   23
        danger to them and their children. Beginning in August 2018, after the Court
   24
        approved the Reunification Plan, the Ms. L. Steering Committee began the process
   25
        of contacting each deported parent and screening them for these criteria. Herzog
   26
        Dec., Ex. A ¶¶ 5-7. Volunteer attorneys then continued the work of screening
   27
        cases, both by reviewing all available records and through additional phone and in-
   28
        person interviews with deported parents in Guatemala, Honduras, and El Salvador.
                                                 3
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    1   Herzog Dec. ¶ 7; Pinheiro Dec., Ex. B ¶¶ 8-11. These attorneys also spoke to
    2   federal defenders’ offices who had represented separated parents in their illegal
    3   entry prosecutions and legal services organizations to identify parents who had
    4   expressed a fear of persecution. Pinheiro Dec. ¶ 8.
    5         Through this vetting process, Plaintiffs identified 51 deported parents who
    6   they believed warranted return under the Settlement. 2 On December 15, 2018,
    7   Plaintiffs submitted applications for return for these 51, with declarations attesting
    8   to the trauma of separation and the coercion that prevented the parent from applying
    9   for, or pursuing, legitimate asylum claims. See generally Pinheiro Dec., Ex. B, ¶¶
   10   12-23 (summarizing testimony of 43 applicants). Most of the parents never
   11   received a credible fear hearing, despite explaining that they feared return to their
   12   home countries. Many were actively misled by government officials to
   13   unknowingly sign away relief. Others simply gave up, because they were separated
   14   and did not think they would ever be reunited in the United States.
   15         Plaintiffs explained in their submission to the government that:
   16
              Under the Settlement, Plaintiffs are required to submit “all evidence
   17         they would like considered by the government.” As previously noted,
              given that the relief being sought is a renewed opportunity to apply for
   18
              asylum, many details of the parents’ claims for protection are not
   19         included in these declarations. Instead, the focus [is] on the ways in
              which these parents were denied a fair opportunity to pursue their
   20
              claim to such protection.
   21         ...
   22         We look forward to the Government’s reply, and would request the
   23         opportunity to discuss any case the government believes does not
              warrant return.
   24
        See December 15, 2018 Email, attached as Ex. 1 to Galindo Dec., Ex. C.
   25
              On February 20, 2019, 3 Defendants denied all the applications Plaintiffs
   26
   27   2
          Of this initial group of 51 parents, 4 are members of the expanded Ms. L. class, as
   28   their children had been released from ORR custody before June 26, 2018.
        3
          Defendants’ deadline to respond to the applications was reset in light of the
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    1   submitted in a single email that stated only that the applications were “insufficient.”
    2   The response provided no explanation as to what further evidence would be
    3   sufficient, or what standard the Defendants used in screening these applications for
    4   return. Defendants wrote:
    5          As of the deadline of December 15, 2018, the Department of Justice
               (DOJ) had received the affidavits (and, where provided, supporting
    6          materials) submitted for 52 [sic] individuals (“Applicant Pool”),
    7          which it subsequently provided to ICE. ICE has now reviewed all
               materials submitted and advised that the documents submitted for the
    8          Applicant Pool did not provide sufficient information to permit
    9          adjudication. In keeping with the spirit of the Agreement, ICE is
               offering members of the Applicant Pool the opportunity to submit
   10          additional information in support of their respective requests for
   11          parole.
   12   See Feb. 20, 2019 Email, attached as Ex. 2 to Galindo Dec, Ex. C. Defendants

   13   invited Plaintiffs to apply for further relief under the humanitarian parole process,

   14   pursuant to 8 U.S.C. § 1182(d)(5). Id.

   15         Plaintiffs asked Defendants to clarify why the applications were deemed

   16   “insufficient” and how to cure that alleged insufficiency. Plaintiffs further objected

   17   to Defendants’ proposal that Plaintiffs apply for parole as inconsistent with the

   18   terms of the Agreement. The parole statute provides the Attorney General authority

   19   to “parole [a noncitizen applying for admission] into the United States temporarily

   20   under such conditions as he may prescribe only on a case-by-case basis for urgent

   21   humanitarian reasons or significant public benefit. . . .” 8 U.S.C. § 1182(d)(5). But

   22   the humanitarian parole process is extremely burdensome, was not referenced in the

   23   Settlement, and was never mentioned to Plaintiffs when they were compiling the 51

   24   affidavits. More fundamentally, the parole application process is not designed to

   25   account for the unique circumstances of the government’s unlawful practice of

   26   separating immigrant families, or to provide the relief to members of the Ms. L.

   27   class to which they are specifically entitled pursuant to this action.

   28
        government shutdown and stay of pending Ms. L. deadlines.
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    1         Despite Plaintiffs’ blanket objection to Defendants’ referral to the parole
    2   process, three deported Class members who had attorneys with sufficient resources
    3   to submit parole applications did so pursuant to the government’s new request.4
    4   Each was summarily denied without individualized explanation. Addendum 3, Ex.
    5   F at 25, 30, 31.
    6      C. Thirty Applicants Return To The United States And Are Now Reunited
               With Their Children.
    7
              Thirty of the 51 applicants returned to the United States. The majority of the
    8
        30 did so with the aid of lawyers. These 30 undertook the same perilous journey
    9
        that they took months before, this time in order to reunify with the children who
   10
        had been taken from them. See Pinheiro Dec. ¶¶ 23-26 (describing return and
   11
        reunification of 28 deported clients). With the exception of one as yet unresolved
   12
        case, Defendants either placed these parents directly in full removal proceedings
   13
        and released them from detention, or, in the majority of cases, gave them new
   14
        credible fear interviews. Every parent who received a CFI passed and was then
   15
        placed into full removal proceedings. Id. ¶ 26. In other words, those parents whose
   16
        return requests were summarily rejected by the government as “insufficient” under
   17
        the settlement showed—when not misled or under coercion—that they merited
   18
        release and a full asylum hearing before an immigration judge. 5 Id. ¶ 27.
   19
              Twenty-nine of the thirty returnees have been reunified with their children.
   20
        The sole exception is a mother who traveled from Central America to the Mexican
   21
        border, by land, and arrived the day after her son had been deported.
   22
              Accordingly, only 21 deported parents of the original group of 51 remain
   23
        who have not been able to make the difficult journey to the U.S.-Mexican border.
   24
   25
   26   4
         Excerpts from these three parole applications are included as Addendum 3, Ex. F.
   27   5
         In one case, a parent was released from detention but has neither been provided
   28   with a new CFI nor issued a notice to appear in 240 proceedings.

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    1   II.   The Twenty-One Deported Parents Should Be Allowed To Return To
              The United States, Either Under the Settlement Or By Court Order.
    2
              Without further relief, the right to reunify will be a hollow one for the 21
    3
        deported parents. They cannot bring their children back to face the violence and
    4
        persecution that they fled. But without the ability to travel legally to the United
    5
        States, they have no opportunity to present the asylum claims that they could not
    6
        meaningfully present when they were previously in the United States, and separated
    7
        from their children by Defendants.
    8
              The experience of the 30 parents who returned to the United States—most
    9
        notably, their uniform success at credible fear hearings—underscores the bona fides
   10
        of these parents’ asylum claims and the dangers that prevent reunification abroad.
   11
        It also demonstrates Defendants’ failure to meaningfully review their settlement
   12
        submissions. Indeed, after categorically deeming their applications “insufficient,”
   13
        Defendants own officers later found their claims for asylum were legitimate.
   14
              Defendants’ family separation policy created the dual injuries these parents
   15
        are facing: their separation from their children and their unlawful removal to the
   16
        violence they fled. The relief they need to remedy this harm is limited: a legal path
   17
        to travel back to the United States. Once in the United States, Defendants can
   18
        choose what immigration process to provide them, as they did for those who
   19
        already returned: either issue them Notices to Appear, or provide them with new
   20
        credible fear hearings.
   21      A. The Twenty-One Applicants Are “Rare and Unusual” Under the
   22         Settlement Agreement And Warrant Relief.
   23         The 21 deported parents who are seeking further relief are “rare and unusual”

   24   by any definition of those terms. Plaintiffs screened hundreds of known deported

   25   Class Members to presented only those cases that meet three specific criteria: First,

   26   they present a bona fide claim for asylum; second, their asylum claim was

   27   abandoned or lost due to coercion or trauma inflicted by the family separation

   28   policy; and third, they are unable to reunify in their home country because of their

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    1   fear of harm to themselves and their children. 6 Herzog Dec. ¶¶ 7-9.
    2         These 21 parents’ declarations and additional evidence demonstrates that
    3   these three criteria are met. For example:
    4          • B.L.S.P. traveled to the United States with her son, after she suffered
                  severe sexual abuse and they were both threatened with death. After she
    5             was separated in November of 2017, she believed she would never be
    6             allowed to see her son again. After her separation, she began to suffer
                  episodes of facial paralysis. Despite the trauma, she passed a credible fear
    7             interview. However, she was told she would have to wait nearly a year
    8             for her asylum hearing, and that she would be detained, without her child,
                  through that process. She withdrew her claim for relief on May 23, 2018,
    9             and was deported on June 18, 2018. A former asylum officer describes
   10             her as “one of the most traumatized and vulnerable persons that I have
                  ever interviewed.” Since her deportation, she freezes in public and cannot
   11             leave her house unaccompanied. See Application of B.L.S.P, Addendum
   12             1, Ex. D at 6-10.
   13
              • D.J.M.C. came to the United States with his then four-year old son from
   14           Honduras after being threatened by gangs; his brother was shot, his cousin
                was murdered, and he feared for his life, and the life of his son. When he
   15
                was separated from his son, his son “cried because in Honduras police
   16           take people and kill them.” He was never told where his son went and
                never spoke to his son after he was deported. Though he expressed a fear
   17
                of persecution in Honduras, he never received a fear hearing, and was
   18           deported in June 2018. Since then, he has been living in hiding; his
                family home has been shot at; and another relative has been murdered.
   19
                An assessment of his child by the Young Center states that he “remains
   20           scared” and now blames his father for the separation, thinking his father
                abandoned him. See Application of D.J.M.C., Addendum 1, Ex. D at 31-
   21
                42, 57-62.
   22
   23         • D.X.C. is from an indigenous community in Guatemala and traveled with
                his eight year old child to flee a gang who had threatened him and his
   24           family, and assaulted and tortured him. When he was separated from his
   25           child, he was told that if he persisted in his asylum claim, he would spend
                two years in detention apart from his son. He never received a credible
   26           fear interview despite expressing a fear of return. Since his deportation,
   27
        6
   28    And the deported Class Members are, of course, a subset of the overall number of
        more than 2700 parents who were separated.
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     1             he continues to live in hiding from the gang that threatened him. See
                   Application of D.X.C., Addendum 1, Ex. D. at 71-79. His son spent over
     2             a year in an ORR shelter, because D.X.C. did not have relatives in the
     3             U.S. to sponsor his son, but also could not have his son returned to face
                   threats. See Cohen Dec., Ex. G, at ¶ 12. His son was eventually released
     4             to non-family sponsors in late April, but has been struggling emotionally
     5             and psychologically in the absence of his father. See Cohen Dec., Ex. G,
                   at ¶¶ 23-28 (describing continuing psychological and developmental harm
     6             to child after release to sponsors).
     7
               •   O.U.R.M. fled Guatemala with his son after he and his family were
     8             targeted for assaults, death threats, and kidnappings. After separating him
     9             from his son, immigration officials repeatedly told him to sign papers in
                   English, even though he cannot read or understand the language.
    10             Depressed, and feeling like he had no choice, he did so. At the time of his
    11             deportation, he had still not spoken to his son. The first time he spoke to
                   him was after his deportation. Since his deportation, he has been
    12             threatened, and has had had to move away from his home to protect
    13             himself and his family. See Application of O.U.R.M., Addendum 1, Ex.
                   D at 126-128.
    14
               The 21 declarations reflect a consistent pattern of coercion and
    15
         misinformation that accompanied the underlying trauma of separation. Parents
    16
         were separated from their children without any warning or explanation.7 They were
    17
         provided little to no information as to where there children were, or what would
    18
         happen to them. 8 They were then transferred between multiple detention centers.
    19
         They started in border facilities, where they slept on the floor with dozens of other
    20
    21
         7
    22     See, e.g., Appendix 1 at 104 (E.L.D.H. Application ¶5) (“officers came in and
         took my son while I was sleeping. I woke up and called out to my son and looked
    23   around the room, but I did not see my son. Other people in the room told me that
    24   my son was taken while I was sleeping.”); Id. at 112 (J.A.A. Application ¶5) (“I did
         not have a chance to say goodbye. I felt a weight in my chest that was so heavy I
    25   could barely breathe. I was in shock because I did not expect to be separated from
    26   my daughter.”)
         8
           See, e.g., Appendix 1 at 12 (C.A.C. Application ¶10) (“I constantly asked the
    27   officers where my child was, and if he was ok; they dismissed my requests and
    28   would always answer that they didn’t know. I was desperate to find out where he
         was.”)
                                                   9
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     1   adults.9 All were transferred multiple times, between facilities for weeks or
     2   months, before they were deported, some without warning. Some parents never
     3   spoke to their children until after they were deported. The separation, confusion,
     4   and fear took a psychological and physical toll on the parents. 10
     5         In some cases, officials told parents that they had no right to asylum. 11 Other
     6   parents were told that seeking asylum would only extend their separation from their
     7   children. 12 Many signed papers given to them by officials that they could not
     8   understand simply because of confusion, coercion, or a sense of futility. 13 Few
     9
    10   9
           See, e.g., Appendix 1 at 93 (E.C.C. Application ¶6) (“I was held in a cell with
    11   about 50 other men. We were not able to bathe or brush or teeth for days, and we
    12   were not given enough food or water to be comfortable. I did not know what was
         happening and I had no idea where my son was”); Id. at 131 (R.A.R.A. Application
    13   ¶6) (“The cell where I was held was crowded with about 90 men. We slept on the
    14   floor and I was not able to bathe or brush my teeth the entire time I was held there.
         I felt afraid and did not know what would happen to me”).
    15   10
            See, e.g., Appendix 1 at 65 (D.P.F. Application ¶10) (“I was frustrated from
    16   feeling I could not help or protect [my daughter]. I got sick for a couple of days;
         my blood pressure dropped and I had to get medical attention”); Id. at 123-24
    17   (M.L.D.A. Application ¶11) (a mother describes how “being separated from my
    18   daughter caused me to suffer epileptic seizures. I suffer from epilepsy, and did not
         have any seizures for 3 years—until I came to the detention center”).
    19   11
            See, e.g, Appendix 1 at 113 (J.A.A. Application ¶7) (“The official told me there
    20   was a new policy of zero tolerance towards migrants and that they were no longer
         giving out asylum); Id. at 137 (S.A.C. Application ¶8) (Officer “told me that there
    21   was no asylum for Central Americans in the U.S.”).
         12
    22      See, e.g., Appendix 1 at 104 (E.L.D.H. Application ¶6) (“The officer told me that
         if I were to stay in the United States and fight for asylum that I could be in
    23   detention without my son for over a year.”)
         13
    24      See, e.g., Addendum 1 at 29 (D.J.M. Application ¶11) (describing signing
         document he could not read or understand because “I do not understand what other
    25   options I had and I did not think I had a choice”); Id. at 93 (E.C.C. Application ¶9)
    26   (“officials asked me to sign some documents in English that I could not read or
         understand. I do not speak or read English. They wanted me to hurry and they were
    27   very aggressive. I was afraid to ask these officials to help me understand the
    28   documents, and I felt I had no choice but to sign. I was exhausted and confused”).

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     1   recall being provided a fear interview, even though they fled to the United States to
     2   seek asylum and expressed a fear of return to officials.
     3         Absent the coercion and trauma of separation, these parents would have
     4   passed their CFIs and remained in the United States, with their children. The
     5   experience of the 30 parents who returned to the United States demonstrate this
     6   clearly.
     7      B. The Court Should Provide Relief Either Through the Settlement
                Agreement Or Ordering Parents’ Return.
     8
               The Court has authority to provide relief for the twenty-one parents through
     9
         the Settlement Agreement, or by ordering that Defendants provide parents with a
    10
         pathway to travel legally to the United States.
    11
               The Court can order Defendants to meaningfully comply with the Settlement
    12
         Agreement and allow the 21 class members to return, since there is no good faith
    13
         basis for concluding that these 21 cases do not fit the criteria. See Nehmer v. U.S.
    14
         Dep’t of Veterans’ Affairs, 494 F.3d 846, 856 (9th Cir. 2007) (“[W]hen a district
    15
         court incorporates he terms of a settlement agreement or a stipulation into an order,
    16
         it retains subject matter jurisdiction to interpret and enforce the contents of that
    17
         order.”). This is simply an application of the Court’s broad inherent authority “to
    18
         ensure obedience to [its] orders.” F.J. Henshaw Enters., Inc. v. Emerald River
    19
         Dev., Inc., 244 F.3d 1128, 1136 (9th Cir. 2001).
    20
               Alternatively, the Court should order the relief that the parents are seeking.
    21
         That is fully consistent with the Court’s remedial authority to effectuate its
    22
         injunction and ensure a meaningful opportunity for reunification. Such relief is
    23
         well within the “court’s equitable powers to remedy past wrongs” and its “broad
    24
         discretion to fashion a remedy.” Swann v. Charlotte-Mecklenburg Bd. of Educ.,
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         402 U.S. 1, 14 (1971); Orantes-Hernandez v. Thornburgh, 919 F.2d 549, 558 (9th
    26
         Cir. 1990). As this Court has already recognized, it has substantial “authority to
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         issue orders necessary to ensure implementation of its injunction.” M.M.M. Dkt.
    28
         55, at 6 (rejecting jurisdictional objections to order staying removals).
                                                     11
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     1         Facilitating parents’ return to the United States is fully consistent with this
     2   Court’s remedial authority. The Ninth Circuit has repeatedly upheld orders to
     3   return injured parties to the United States. In Walters v. Reno, 145 F.3d 1032 (9th
     4   Cir. 1998), for instance, the district court had ordered the government to parole
     5   removed class members into the United States, because they had been subjected to
     6   procedures that violated due process. Id. at 1050-51. The Ninth Circuit affirmed
     7   the return order, explaining that parole was necessary “to permit an alien to take
     8   advantage of procedures to which [he] was entitled.” Id. at 1051. Similarly, in
     9   Mendez v. INS, 563 F.2d 956, 959 (9th Cir. 1977), the Ninth Circuit ordered the
    10   INS to “admit appellant into the United States [and] grant[] him the same status he
    11   held prior to his . . . deportation,” because “he was deported without notice to
    12   counsel.” And in Singh v. Waters, 87 F.3d 346, 350 (9th Cir. 1996), the Ninth
    13   Circuit ordered the government to “permit Singh to return to the United States for
    14   the purpose of appearing at a hearing before the immigration judge.” Cf. Estrada-
    15   Rosales v. INS, 645 F.2d 819, 820-22 (9th Cir. 1981) (ordering return); Grace v.
    16   Sessions, 2018 WL 3812445, at *1 (D.D.C. Aug. 9, 2018) (same); Ying Fong v.
    17   Ashcroft, 317 F. Supp. 2d 398, 404-05, 408 (S.D.N.Y. 2004) (same); Dennis v.
    18   I.N.S., No. CIV.A. 301CV279SRU, 2002 WL 295100, at *4 (D. Conn. Feb. 19,
    19   2002) (same).
    20                                     CONCLUSION
    21         For the foregoing reasons, the Court should order Defendants to provide a
    22   pathway for the 21 deported class members to return to the United States to seek
    23   asylum.
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         Dated: June 6, 2019                 Respectfully Submitted,
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     1                             CERTIFICATE OF SERVICE
     2         I hereby certify that on June 6, 2019, I electronically filed the foregoing with
     3   the Clerk for the United States District Court for the Southern District of California
     4   by using the appellate CM/ECF system. A true and correct copy of this brief has
     5   been served via the Court’s CM/ECF system on all counsel of record.
     6                                                 /s/ Lee Gelernt
     7                                                 Lee Gelernt, Esq.
                                                       Dated: June 6, 2019
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